Sep 18 O95 OasP87-cv-PLeShEG AR EARF Oo DdtUtent 165-2 2 FARE) P7/09

SIMONE J. SIMONE, Ph.D. CLINICAL PSYCHOLOGIST
450-E Pass Rd. Suite 3, Gulfport, MS 39507 (228) 604-0099 ssimone@belisouth.net

PERSONAL SUMMARY,

Diversity of professional experience through practica, intemship, and private practice in: two community mental health centers, a
university counseling center, a psycho-social rehabilitation facility, a rehabilitation hospital and two rehab/long-term care facilities,

and private practice

Compieted APA-approved Fh.D. program in Counseling Psychology at Kent State University.
Completed a 12-manth APA-approved Internship at Northeastern Ohio Universities College of Medicine,
Licensed as a Psychologist in Mississippi.

Own a private practice with four associates

PROFESSIONAL EXPERIENCE

Provided individual therapy to ethnically and culturally diverse clientele with mild to severe psychological problems.
Performed intake evaluations which include interview, diagnosis, and report.

Determined appropriate treatment and/or referral, developed detaifed treatment plans, maintained case records.
Developed and presented case reports at staff meetings.

Administered psychological and neuropsycholagical testing and assessmonts: provided consultations ta physicians.
Cansulted as part of a multi-disciplinary medical team.

Facilitated group psychotherapy.

Provided evaluations to the Chancery Court in custody disputes and to the Federal Court for competency and other issues.
Have significant legal-ethical publications/presentations

PERSONAL SKILLS / ASSETS

© Exceptional writing skills for clear, accurate reports and records

Proficient in problem-solving

Efficient in developing time-saving, ublitarian forms, &.g., scaring forms to simplify tha preparation of comprehensive
psychological reports: intake interview form for community mantal health centers

Proficient in evaluation intennewing

Strong scientific research background

Excellent rapport-bullding and interpersenat skills with a wide range of clients

Strong PC experience in WordPerfect, Lotus, Internet, etc

Experienced handling confidential situations and materials

Able to work efficaciously in a team-oriented environment

Abie to prioritrzé work in a mult-task situation

Able to think conceptually and analytically

Highly organized and efficient

Abie to work independently

Detail-ofiented

Skilied in the use of hypnosis

Certified in Eye-movement Desensitization and Reprocessing training

Skilled in designing and implementing benavior-focused treatments

Experienced in dealing with suicidal patients and patients in crisis

RELEVANT LIFE EXPERIENCES

Three publications

Won the Kentucky-Indiana Metroversity Expository Writing Competition, Graduate level.
Editar, Psi Chi Newsletter at Spalding University

Established and maintained households in three foreign countries.

Entertained foreign dignitaries

Owned and operated an art business.

Worked as Data Processing Supervisor at Singing River Hospital.

Worked as an Executive Secretary for the military and for private firms.

EDUCATION
® BA: Purdue University Clinical Psychology Hammond, IN
= M.A. Spalding University Counseling Psychology Louisville, KY
« Ph.D. Kent State University Counseling Psychology Kent, OH

Exhibit * |

Page 1 of 4
Sep 15 039 @e9P07-cv- BSN es RW" HUthrent 165-2 “F8eacGyPA09 Page 2 of 12-43

SIMONE J. SIMONE, PH.D., CLINICAL PSYCHOLOGIST {228} 604-0099
450-E Pass Rd. Suite 3, Gulfport, MS 39507 ssimone@ibellsouth.net

EDUCATION |

Ph.D., Kent State University, Psychology
M.A, Spalding University, Psychology
B.A. Purdue University, Psychology
Northeastern Ohio Universities College of Medicine: Clinical Internship in Psychology

PROFESSIONAL EXPERIENCE

= Simone and Associates, Mental Health Professionals
450 E, Pass Rd, Suite 3
Gulfport, MS 39507
= Clinical Psychologist in private practice:
- Evaluate, diagnose, & treat ethnically diverse patients
- Prepare patient-specific treatment plans with strategic interventions targeting specific patient problems.-
Consult with multidisciplinary professionals about patient-related issues.
- Provide individual therapy to patients.
- Administer psychological testing to ethnically diverse children, adolescents, and adults
- Administrative responsibilities
Psychological Consultant to Hospitals, Rehabilitation, and Long-Term Care facilities.
- Determine appropriate psychological treatments in conjunction with rehabilitation goals.
- Prepare patient-specific treatrnent plans, emphasizing patient strengths, and focusing primarily on
strategic interventions targeted toward specific patient difficulties.
- Gansult with multidisciplinary professionals about patient-related issues and maintain professional
relationships with other community care-givers,
- Serve a$ patient advocate interfacing with patients, families, staff, and administration.
Custody and Competency Evaluations for Chancery Courts
Serve as Expert Witness to the Court
Average hours per week: 70-80

= Gulf Coast Psychology Center

12296-B Ashley Drive

Gulfport, MS 39503

(228) 832-2400

=» General Duties: same as above

= Positian: Psychologist: 1/1/99 - 12/34/99

= Average hours per week: 70-80

= Reason for leaving: to open my own practice

= Applied Psychology Center

2472 Pass Road

Biloxi, MS 39631

(228) 388-9303

Positian: Psychologist: 6/25/97 - 12/31/98

« General Duties: samme as above

= Post-Doctoral training

= Average hours per week: 50

® Reason for leaving: professional advancement

« Northeastern Ohio Universities College of Medicine
80 3. Summit Street
Akron, OH 44308-1732
Sep 16 09 @8ee0687-cv-DSSNRs RHE OD dthAent 165-2 *FARaP409 Page 3 of 4

(330) 535-8181
Position: Psychology Intern: 1994-1995
Clinical Director: Elizabeth K. Ott, Ph.D.
Focus: neuropsychology, rehabilitation, chronic pain, and community mental heaith
= Rotation at Edwin Shaw Hospital, a rehabilitation hospital: 7/1/94 - 12/34/94
= Rotation at Portage Path Community Mental Heaith Center: 1/4/95 - 6/30/95
- Patients: diverse adult and adolescent in-patients and out-patients in rehabilitation for CVAs, head injuries, or physical
trauma; EAP patients, and community mental health out-patients
» General Duties: same as above in addition to
- Facilitated two levels of groups for patients with severe head traumas.
~ Consulted with a mutti-disciplinary team.
- Consulted with community organizations and professionals about patient-related issues and maintained
professional relationships with other community care-givers.
- Developed and presented case reports and medical information at supervision, medical rounds, and medical
staff meetings.
~ Reviewed diagnostic assessments completed by other agency staff.
- Facilitated psycho-educational orientation groups.
» Average hours per week: 80
= Reason for leaving: completed internship

# Veterans Affairs Medical Center
10,000 Brecksville Rd.
Brecksville, OH 44141
216-526-3030
Supervisor: Lori Rugle, Ph.D.
Position: Rehabilitation Research Technician: GS-5/1, part-time, temporary: 11/1/93 - 2/11/94
- Plan, coordinate, collect, input, maintain, and analyze data
~ Record-keeping and documentation
- Perform structured screening interviews and foliow-up interviews
- Participate in Darniciiary operations, training, and research programs
= Average hours per week: 25
» Reason for leaving: ternporary position ended

« Goleman Community Mental Health Center
3920 Lovers Lane
Ravenna, OH 44766
330-673-1347
Supervisor: Frank Gorbett, Ph.D.
Position: Psychological Assistant. 8/92-5/93
- Clientele: ethnically diverse adult population
- Presented an in-service training session on hypnosis,
» General Duties: same as internship, in addition to:
- Designed the major portion of the mental status section of the Intake Form.
= Average hours per week: 25 - 30
nF Reason for leaving: completed practicum

» Counseling and Human Development Center
White Hall, Kent State University
Kent, OH 44242
Supervisor: Dan L. Sanders, Ph.D. 330-643-3010
Position: Psychological Assistant 8/91 - 5/92
- Clientele: ethnically diverse university students, faculty, and staff, and community members,
» General Duties: same as internship, in addition to:
- Demonstrated suicide assessment in vivo via closed circuit camera to Master's level classes
* Average hours per week; 20 - 25
« Reason for leaving: completed practicum
Sep 16 OF @Bee?PB7-cv-GLboStikc RAE HdthiAfent 165-2 A48RAGWPA/09 Page 4 of 5

= Bridgehaven

Bridgehaven

1423 3. Fourth St,

Louisville, KY 40208

Supervisor: Or. James Thompson 502-585-9911

Position: Counselor Trainee: 1/91 - 5/91

- Type of facility: a psycho-social rehabilitation facility (partial hosp)

- Patients: ethnically diverse adult patients with chronic, severe mental disabilities
- Group facilitation: developed and conducted a 12-week self-esteem/cammunications group for chronic, fow-
functioning fermale patients with schizophrenia.

» General Duties: sare as above

» Average hours per week: 20

« Reason for leaving: completed practicurn

PEER-REVIEWED PUBLICATIONS
® Simone, 3. J., & Fulero, S. (2005). Tarasoff and the Duty to Protect. In S. F. Bucky, J. & Callan, & G. Stricker (Eds.),
Ethical and Legal Issues for Mental Health Professionals: A Comprehensive Handbook of Principles and Standards
{pp.145 -— 168).
= Simone, 5. J., & Fulero, 5. M. (2001) Psychologists Perceptions of Their Duty to Protect Uninformed Sex Partners of
HIV-Positive Clients. Behavioral Sciences and the Law, 19, (423-436).
# Simone, S. J., & Fulero, S. (1998, August), Psychologists’ perceived Tarasoff Duty to protect with HIV-positive clients.
Paper presented at the American Psychological Association convention, San Francisco, CA.

LICENSURE
= Psychologist: State of Mississippi #35 591 issued 6/20/97 exp 6/30/09 active
« Civil Commitment Certification #99-01 issued 10/9/99 exp 7/1/09 active
# LPC: State of Mississippi #0593 issued 2/21/97 exp 6/30/98 inactive
= LPGC: State of Ohio #E2051 Issued 9/22/95 exp 9/22/97 inactive

PROFESSIONAL MEMBERSHIPS
» American Psychological Association since 1988
a Mississippi Psychotogical Association since 1997

HOSPITAL STAFF PRIVILEGES
Facility Appointment Date Status
=» Memorial Hospital of Gulfport 8/ 27/98 Affiliate of the
4500 Thirteenth St., P.O. Box 1816 Medical & Dental Staff
Gulfport, MS 39502-1810 (228) 867-4000
= Select Specialty Hospitals of Gulfport and Biloxi 4/13/00 Allied Health Professional
648 Beach Boulevard
Biloxi, MS 39530 (228) 374-7474
= Gulf Coast Medical Center 8/25/00 Allied Health Professional
180 DeBuys Rd.
Biloxi, MS 39531 (228) 388-0600
= Biloxi Regional Medical Center
150 Renoir St. (228) 432-1571 2/20/01 Limited Health Practitioner

Biloxi, MS 39533 Medical & Dental Staff
Sep 16 09 @8,0857-cv-CADUSNES RHVWSODMELRENt 165-2 248RAtBOHO9

CONTINUING EDUCATION

Page 5 of 1P:5

SEMINAR / WORKSHOP / CONFERENCE

PRESENTER / LOCATION DATE CEU hrs
Legal & Ethical Risks & Risk Management in Professional Psychalogical Jeffrey NW. Youngren, Ph.D. 6/12/09 6 hrs
Practice-3equence 1: General Risk Management Strategies MPA, Whitheld, Jackson, MS @thics
This Wasn't Supposed to Happen to Me: A Ten-Choice Model for Beverly Smaliwood, Ph.D; V.A, Biloxi, MS 11/6/08 2.5 firs
Recovery from Traumatic Events
Elhics in Action: Applied Ethics, Legal Considerations, & Clinical Risk David Jobes, Ph.D. 1Of24/08 6 ethics
Management
River Oaks Psychiatric Hospitat The New Orleans Institute Feb i5& 41.5
1. Acceptance, Mindfulness, and Gognitive Therapy: 1. Paula Gay, Ph.G. 46, 2008
Applications to Trauma-Based Eating Disorders 2. Lauren Langley, APRM-BC
2. Understanding Shame and Compulsive Bchaviors 3. Dawn D. Treigle, MSW, LCSW
3. Female Sexual Dysfunction: Myths, Dynamics & Treatment 4. Dianne Markel, MSV, LOSW & Ellis E.
4, Children, Adolescents & the Internet Lindsey, MSW, LCSW
§. Challenging Maladaptive Coping (Binge Eating) With §. Molissa P, Richard, MSW, LCSW, LLC
Cognitive Behavioral Tools G. Rebecca Stiting, MSW, LCSW, LMFT
6. Sexual Traffiking: Surviving Powerlessness 7. Thomas 4. Hauth, MD
7, Medical Management for Trauma & Computsivity 6. Daniel A Ghiser, MSW, LOS
8. Master of Adversity or Helpless Reator: Resiliency vs 9. Jeffrey 0. Thompson, M.Div, LPC
Compulsivity 10. Stephen H. Alfonse, MT-BC & Staff
5, Spiritual Integration: Group Interventions for Exploring Core
Spiritual Beliefs
10. Expressive Therapies
Ethical Decision Making for Psychologists and the APA Ethies Code Stephen A. Behnke, JD, Ph.D. 99107 3 ethics
MPA's 58" Annual Convention Biloxi, M5 9/19- 3
21/07
Conducting Cammunity-Based Forensic Evatuations: Whitfeld - MS State Hasptal
Forenskt, Evaluations Part 1 Cris Lott, Ph.G., Gilbert MacVaugh, Ill, V31/07 4
Forensic Evalyations Part 2 Fsy.0., and Reb McMichael, M.D, atig7 8
Forensic Evatuatigns Part 3 af2i07F 4
River Oaks Psychiatric Hospital The New Greans Institute Jan 26 - 115
1. Trauma & Physiology: Sticks and Stones May Break My Bones, But | +. Lauren Langley, APRM-BC 27/07
Words Gan Really Hurt You 2. Jeffery D. Thompson, M.Div,, LPC
2. Yesterday, Today, & Tomorrow: The Spirituality of Trauma, 3. Daniel A. Glaser, MSW, LCSW
Addiction, and Hape 4, Paula Gay, PhD,
3) Power or Perit Travma’s Impact on Love & Relationships 5. Rebeces Stilling, MSW, LOSW, LMFT
4. Aha! lf So, Then What?: Balancing Insight and Symptom Control in | 6. Dannette Dollison-Johnsan, MA, MT-
Eating Disorders BC, et al
§. Sexual Trafficking: Surviving Poweressness 7. Dianne Markel, MSW, LOSW
6. Expressive Therapies: A Multi-Modal Approach & Melissa P. Richand, MSW, LCSW,
7. Living in the Body: Reclaiming Sexuality L.L.G.
8. Sexual Anorexia: The Journey From Understanding Origins te 9. Scott Brothers, Ph.D.: Ellis E. Lindsey,
Recovery Msi, LOSW
9, Male Sexual Dysfunction: Men's Sexual Heaith 16, Dawn D. Traigle, MSW, LCSW
10. Ernotonal infidelity: Repatring Trust
Master Glasses in Bipolar Disorder: A Clinical Update Frederick K, Goodwin, M.D., Biloxi, MS aro? 1.0 CME
American Red Gross Foundations Disaster Mental Health rogram Bilt Martin, Ph.D. 9/22/06 6.5
Legal & Ethical Risks & Risk Management in Professional Psychological Erie A. Harris, Ed.-D., JD 8/9106 6 - ethies
Practice, Sequence 1: General Risk Management Strategies Jeffrey N. Younggren, Ph.D, ABPP
Vicarious Trauma, Issues for the Hoalth Professional Kathy Keyntjens, Ph.D, 7H5f06 2
Preoperative Psychological Evaluation of Bariatric Surgery Candidates Julie Teeter, Psy.D. BAS/06 2
Child Custody Evaluations: How to Serve the Courts, Survive Cross W. ngs Lott, Ph.D.: 5/14/05 a - etnies
Examimation, and Oo No Harm to the Families Trudi Zaplac Porter, J.D... Ph.o.
Hypnotherapy and Hypnosis as an Adjunctive Technique Joseph Tramontana, Ph.D.. VA 2/06 2

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Page 6 of 7

SEMINAR / WORKSHOP / CONFERENCE

Recovery

PRESENTER / LOCATION DATE CEU hrs
Masters and Johnson Preferred Provider Trauma/Compulsivity New Orleans, Louisiana Feb 25- 12
Conference 1, Daniel A. Glaser, LCSW 26, 2005
1. Relational Intrusion & Sexual Assault 2, Paula Gay, Ph,
2. Extrame Makeovers: Eating Disorders as a Response to Life 3. Thomas A, Hauth, M.D,
Transitians 4. Dianne Markal, LCSW
3. Medical Insights & Management of Trauma and Compulsivily §, 3, Brother, Ph.D.; E. E. Lindsey, LSSW
4, Honoring the Healing Process with Children & Adolescents 4. Dawn D. Treigle, LCSW
&. Reclaiming Healthy Male Sexuality 7. Melissa Piazza Richard, LCSW
6. Female Sexual Dysfunction, Sequalae to Trauma 8. Jeffrey D. Thompson, M.Dw, LPG
7. Recovery Through Creativity 9. Stephen M. Sifonso, MT-BC, et.al.
8. Sacred Narratives in the Context of Trauma Recovery
9 Expressive Therapies with Trauma and Compulswity Chents
Assessing Decisional Capacity (Competency’): Legal, Ethical, and Chester 0. Gaston, Jr, Ph.D. & Jefferson 2/2/05 2 - ethics
Practical Issues Regers, Psy.D.
Recognizing the DSMAV: Personatity Disorders Thomas L. Rochat, Ph.B. 1/15/05 6
Review of Ethical Principals and Situations Thomas L. Rochat, Pho. ANOS 3 - ethics
Legal Issues in Behavioral! Health in Mississippl Ronald Farris & James Cox, Attys. 8/27/04 6
Anger Contrat Made Easy Israel] Kalman, M.S. Ti14i04 6
Psychopharmacology and Psychotherapy: Ethical Considerations for the Thomas A. Smith, M.S., L.M.H.C., P.., 5/44/04 6 - athics
Clinica! Practitioner F.AS.O.P.
3" Annual Guif Coast Alzheimer's Conference Richard Powers, MD, William Howell, Esq., | 3/30/04 5.5
& Metora Jackson
Brief Neuropsychological Assessment Risa Nakase-Thompson, Ph... 4/7104 2.0
Clinical Supervision: Ethical, Legal, and Evaluative Issues Philip G. Cooker, Ph.Q. 3/5/04 3- ethics
Competent and Ethtcal Practice in 7003: Doing Good and Staying Out of Michaet 0. Roberts, Ph.D. a25/03 3- ethics
Trouble C. Gerald O'Grien, Ph.D.
Practical Approach to Improving Grug Therapy Outcomes Through Cindy Noble, Pharm.D, g/26/03 2
Enhanced Patient Adherence
Mississippi Psychological Association 2003 Annual Convention MPA o/24- 3
27/03
Legal] and Ethical Risks and Risk Management in Professional Jeffrey N. Younggren, Ph.D., ABPP 28/03 6
Psychological Practice: Sequence General Risk Management
Strategies
Counseling Vietuns of Sexual Abuse: The Three Stages of Healing V2/1 8/02 6
Practicing Ethically in the Custody Area Katherine Nerdal, Ph.0.; C, Gerald BTIO2 1 - ethics
O'Brien, Ph.D.: Michael 0. Roberts, Ph.D.
Mississiopi Psychological Association 2002 Annual Convention 9/5-8/02 3
Acquired Neurological Injuries, Retevant Issues for the General Risa N. Thompson, Ph.D. Clea Evans,
Clinician Ph.D.; Chad D. Vickery, Ph.D.
Advances in Antidepressant Pharmacotherapy Brian L. Crabtree, Pharnm.D., BCRP
Current issyes in Child Abuse & Child Custody Evaluations Seth Kunen, Ph.D.; Lelghten Stamps, 10/26/01 4
Pr.
Child Custody Evaluations Criss Lott, Pro. 5/15/96 4
Workshop Guidelines for Custody Evaluations Jackson, MS 10/99 2
Preferred Provider Conference River Oaks Psychiatric Hospital, New 2/22- 10.5
Orleans, LA 23/02
Alzheimer's Conference Biloxi, MS 2/8/02 4
Disaster Psychology: The Role of Mental Health in the 9/17 WTG Disaster | John C, Hanson, Ph.D, S02 2

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Page 7 of R38

SEMINAR / WORKSHOP / CONFERENCE

PRESENTER / LOCATION DATE CEU hres
Social Anxiety and Aleghal Use: Empiricat Findings and Clinical Randy S$, Burke, Ph.D. 4/4/02 2
Apolications :
Smoking Cessation: Assessment and Treatment of Tobacco Dependence Shirley J. Butls, Psy.D. Stig Z
nasessment and Empirically Based Treatment of Posttraumatic Stress Patrick O, Smith, Ph.D, 628/02 3
1S.
Understanding Anger, A Seminar for Health Professionals Grad Barris, Ph.D. 3/6/00 6
Learn How to Heto Adult & Child Survivors of Sexual Abuse Adena B. Leés, CISW, ICADC 12/6/01 6.5
Statistical Procedure far Interpreting Individual Test Data Martin Rehling, Ph.D, BIGIO1 2
Fifth Gulf Coast Conference on the Treatment of Addictive Disorder VA Learning University 8/5 - G99 12
Best Practices in the Treatment of PTSD Leslie P. Root, PhD. TITAN 2
Depression in Ali Ages: Treatment Issues for Depression In Ctitdren, MS Child Abuse Association B20 5
Adults, and Elderly
Eihical Principles and Prafessional Guidelmes in Informed Consent William Goggin, Ph_D., Charles Noblin, 5/2/04 2
Ph.D; Karen Lundy, PhD.
Understanding and Managing Children Who Present with ADD/ADHD Grad Flick, Ph.D. BZ7l02 nfa
Behaviors
Preferred Provider Conference River Oaks Psychiatric Hospital, New 126- 10
Orleans, LA 27/01
Who Moved My Cheese? Car King, LMSW, CSW 2/20/02 Wa
Evaluation/Traatmant of Substance Abuse Disorders Willam Gasparrini, Ph.O. R. Branten, LPC 1/30/01 na
Mental Haalth and The Law Medical Educational Services, inc. 10/16/00 6
Mississippi Psychological Association Annual Conventions of 2000 MPA 10/00 3
Interdisciplinary Treatment af Chronig Pain L. Serebro, A, Koestler, R. Voihra, Ph.D. et | 7/22- 4
. al 24/00
The Role of Culture in Mental Health Mark Leach, Ph.D. 6/3/00 2
Adlerian Contributions to Consultations with Parents Daniel L. Randoph, Ph.D. 3/4/00 2
APA Ethical Principles, Standards, and Professional Guidelines William Gasparrini, Ph.D. 2/ai00 2
Acute Stroke Management David Lee Gordon, Mod. 6/10/98 nfa
Mississippi Psychological Association Annual Conventions of 1998 MPA 9/48 3
Mississippi Psychological Association Annual Conventions of 1999 MPA 1o/o4 3
Scxual Abuse: Predator and Proy Sheridan Tucker, M.D.; Pepper MeKeough, | 7/16/02 n/a
Losw
Clinicat Applications af Hypnosis Darel 1. Moore, Ph.D. 8/3/98 zZ
Cognitive-Behavioral Approaches to the Treatment of Aggression in Mitchell E. Berman, Ph.D. THAISB 2
Adults
Existential Psychotherapy Gregory T, Eells, Ph.D. 6/3/98 2
Management of Behavioral Disturbanecs in the Neurocognitively Impaired | Josepha A, Cheong, M.D. 5/6/98 2
Eiderly Patient
Child Sexual Abuse Evaluations Rita L. Porter, Ph.D.; Lisa 8. Yazdani, 5/15/98 3
Ph.D,
The Wechsler Sculc Revisions: WAIS-(I1 and WMS-II David M. Schwartz, PhD. M1897 4
Assessment and Treatment of Chronic Pain Akron General Medical Center 104/96 4.75

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SEMINAR / WORKSHOP / CONFERENCE PRESENTER / LOCATION DATE CEU hrs
Psychotherapy Versus Medication for Depression: Challenging the Akron General Medical Center 25/06 1
Gonventional Wisdorn with Data
Chemical Gependence and Substance Abuse — An Update Akron General Medical Center 822/96 1.6
Modern Hypnosis for Psychosomatic Disorders Akron General Medical Center 627/96 1.6
Quigong Cynthia G. White, Psy.D. 10/27/95 1
Sexual Trauma, Memory, and Recovery Frederick L, Potarson, Jr., Psy.D. {28/95 §
The Business of Therapy: Establishing and Maintaining Your Successful OH Psychological Assoc. Conference 1O/8t 2
Private Practica
How to Use Psychological Assessment Tools to Enhance Marketability OH Psychological Assoc. Conference 10/99 4
Current Considerations in Ghronic Pain Management M. A. Royal, M.D. 5/99 n/a
Smoking, Smoking Cessation, and Building Your Qwn Cessation Program | Garland V, GeNelsky, Psy.D. 10M FSS 3
How the Behavioral Healthcare System is Evaiving David Drum, Ph.D. 3/31/95 2
Manic Depressive Niness, Creativity and Treatment Implications Akron General Medical Center 728/94 15
Post-Graduate Course in Practical Hypnosis American Academy of Medical 5/23= 13

Hypnoanalysists 24/9?
Fundamentals of Ericksonian Hypnotherapy Jeffrey Zeig, PhD. 424192 5
Eye Movement Desensitization and Reprocessing Level | Basic Seminar Franaine Shapira, Ph.D. 5/93 6
Eye Movement Desensitization and Reprocessing Level II Certification Francine Shapiro, Ph.D. 7/193 5
Seminar
Counseling Survivers of Childhood Sexual Abuse Claire B. Draucker, RN, Fh, 4/31/95 2

Emergency Psychiatry: An Update NE OH Universities College of Medicine 8/25/94 1.5
New Developments in the Otug Treatment of Schizophrenia NE OH Universities College of Medicine g/22/04 1.6
Cognitive Therapy in the Treatment of Borderline Personality Disarder NE OH Universities College of Medicine 2294 6
Legal lssues in Behavioral Health in Mississippi Ronald Farris & Jarnes Cox, Attys. B/2 7/04 6
Anger Control Made Easy Israel Kalman, M5, 7/1404 6
Psychonharmacology and Psychotherapy: Ethical Considerations for the Thomas 4. Smith, M.S., L.M.H.C., PG. 5/1a/Od. G - ethics
Clinical Practitioner F.A.S.0.P.
3" Annual Gulf Goast Alzheimer's Conterence Richard Powers, MD, William Howell, Esq., | 3/30/04 5.5

& Metora Jackson
Brief Neuropsychological Assessment Risa Nakase-Thompson, Ph.D. 477/04 2.0
Clinical Supervision: Ethical, Legal, and Evaluative Issues Philip G. Gooker, Ph.D. afai04 3 - athies
Competent and Ethical Practice in 2003: Doing Good and Staying Out of Michael D, Roberts, Ph.D. o25/03 a - ethics
Trouble C, Gerald O'Brien, Ph.D.
Practical Approach to Improving Drug Therapy Outcomes Through Cindy Noble, Pharm.D. yr26/03 2
Enhanced Patient Adherente
Mississippi Psychological Association 2003 Annual Convention MPA o/24- 3

27/103

Sep 16 O89 @350667-cv-FlDOSNis RHE OP Bent 165-2 Z48REARIOA/OQ Page 9 of 10

PROFESSIONAL EDUCATION

Kent State University Ph.D. in Psychology 24 August, 1996
Kent, Ohio 44242

Spalding University M.A. in Counseling Psychology 4 May, 1991
851 $. Fourth Street

Lowisvill, KY 40203-2188

Purdue University B, A. in Psychology 21 May, 1989
2200 169th Street

Hammond, IN 46323-2094

INTERNSHIP

Northeastern OH Univ, College of Medicine Psychology Internship 16 June, 1995
James Orlando, Pragrarn Directar

37 N. Broadway 5t.

Akron, OH 44380

RESIDENCIES / FELLOWSHIPS POST-DOC YEAR

Applied Psychology Center Dr, William Gasparrini

2472 Pass Ad. Post-doc clinical training in Psychology from 8/97 - 12/98
Biloxi, MS 39531 successfully completed the program

PEER REFERENCES

Dr, Dorathy Dicksor-Rischel

Mernorial Hospital of Gulfport

4500 Thinteenth St., P, ©. Box 1810
Gulfport, MS 39502-1810 (228) 867-4000

DOr. Beth Curry

Memorial Hospital of Gulfpert

4500 Thirteenth St., P.O. Box 1810
Gulfport, MS 39502-1870 (228) 867-4000

Dr. Dan Vujnovich
2486 Pass Rd. (228) 388-6006
Biloxi, MS 39531
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MISSISSIPPE BOARD OF PSYCHOLOGY i

This certifies thas i

x

Dr. Stmone J. Stone, PRD, b

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Whose credentials have been approved by the Mississign? Board af Psycholegy i
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j Licemse number 35-59)  arigiandhy isueed om 6/20/5097 iH
a i
Has regisiered with the Migzissippi Board of Paychology as required by ‘Mile 73, i
Chapter 31, Sections 2-29, of the Mississing? Code 1272 Annotated, and ia Heensed

te practice as ct PSYCHOLOGIST and ia Guby cariified to pesiorn ‘

CIVIL COMMITMENT EVALUATIONS ;

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License curpentiy Vedid feos futy fb, 2807 theuuph dune ot, 2G ji

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William Gasparrini, Ph.D., ABPP.
Chnical &sychologist
Anpiied Psychology Center, PC,
2472 Pass Roac
Biliom, MS 39541-3836
Phone (228) JBR-9303
Fax (228) 388-9306

April 17, 2002

To Whom Tt May Concern:

Re: Simone Simone, Ph.D,

Dr. Simone worked under my supervision for her first year of Post-Doctoral clinical
experiences. During this time, she performed many custody evaluations under my
Supervision.

1 can verity that she completed her year of Post-Doctoral training in Clinical Psychology.
Sincerely,

A}. t tan, PL

Wiliam Gasparrini, Ph.D.
Clincal Psychologist

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SIMONE J. SIMONE

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Approved By The vumecrican Prychalovical Associcion

Woreened this fifteenth day af Jung, nineteen hundred and ninety-five

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